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P|aintiff

VS.
CR. NO. 05-20132-D

R|CHARD ESTEVANES

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju ne 30, 2005. At that time, counsel for the
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August ‘l, 2005 with a

report date of Thursdag{l Ju|y 21l 2005l at 9:00 a.m., in Courtroom 3. 9th F|oor of the
Federa| Building, Memphis, TN.

 

The period from June 30, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this day of Ju|y, 2005.

 

 

Thi s document entered on the docket sheet in corn |lance
with nule as and/or 32(5) rech on ’7 '/.5 '0_______£_____

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20132 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

